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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
DALONNO C. JOHNSON, )
)
Plaintiff, ) Case No. 17 C 7828
)
V. )
) District Judge Mary M. Rowland
SOO LINE RAILROAD CO., ) Magistrate Judge Gabriel A. Fuentes
)
Defendants. )

ORDER

 

Before the magistrate judge on referral (D.E. 175) is the motion by Defendant Soo Line
Railroad Co. (“Defendant”) for sanctions (D.E. 173). As the briefing has proceeded, several
matters warrant the magistrate judge’s immediate attention, and it is HEREBY ORDERED:

1. Plaintiff is granted leave ex post to file his tardy supplemental response to the
motion (D.E. 187), which he filed on July 28, 2020, eight days after the deadline imposed by this
Court (D.E. 182.)

2. Defendant’s motion to strike (D.E. 189) is granted in part and denied in part. The
motion to strike is denied as to plaintiff's tardy response (D.E. 187) and granted as to the two
exhibits plaintiff filed separately one day later, on July 29, 2020 (D.E. 188).

3. The Court orders the exhibits (D.E. 188) to be placed under seal immediately, as
they appear to contain surreptitiously recorded conversations (a) between plaintiff and court staff;
and (b) between plaintiff and opposing counsel.

4. The Court is contemplating whether the surreptitious recording of plaintiffs
conversation with court staff, if it occurred, is a direct criminal contempt of court. The Court also

is considering the filing of the transcripts, and any recordings that occurred, in the context of the
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sanctions motion and any report the magistrate judge makes to the district judge. To aid the Court
in preparing its recommendation to the district court on the contempt and sanctions issues, the
Court further orders as follows:

a. Subject to subparagraph (b) below, plaintiff shall file publicly, no later than
4 p.m. Central time on August 7, 2020, a sworn affidavit, under oath and under penalty of perjury
disclosing the following:

(1) ‘the dates and times of all recordings Plaintiff has made of
conversations with court staff or opposing counsel, and as to each, which if any parties to the
conversation(s) consented to the recording.

(2) the location of all such recordings, which are ordered to be
preserved and not destroyed.

(3) the facts and circumstances surrounding any recording of the two
conversations attached as exhibits and filed with the Court on July 29, 2020, including plaintiff's
awareness of the provisions of Illinois’s anti-eavesdropping statute, including but not limited to
720 ILCS 5/14-2(a)(1), and any reason(s) why plaintiff recorded the conversations or believed it
was appropriate to do so; and

(4) the dates and times of all recordings plaintiff has made, if any, of any
court proceedings in this matter, in which the Court has extended plaintiff the courtesy of
permitting him to appear by telephone instead of traveling to Chicago from Arizona, and the facts
and circumstances of those recordings, including all of the information requested above in
Paragraph 4(a)(2) and (3).

b. Alternatively, if plaintiff wishes to invoke his Fifth Amendment right

against self-incrimination as to any or all of the provisions of Paragraph 4(a), he may do so, and
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the Court may draw an adverse inference as to the sanctions aspect of these proceedings from his
invocation of the Fifth Amendment. Such invocation would not be held against him in any
proceeding for criminal contempt of court.

5. Upon receipt of plaintiffs affidavit or response, if any, the Court shall consider
whether to schedule a criminal contempt hearing under Federal Rule of Criminal Procedure 42(b).

6. The courtesy, extended by the Court, of allowing plaintiff to routinely appear
telephonically at his hearings in this matter is officially over. The Court will consider the issue of
physical appearance versus telephonic appearance on a hearing-by-hearing basis, in accord with
the Court’s General Orders (No. 20-0112) entered in response to the COVID-19 public health
emergency.

ve Defendant may file a brief sur-reply in support of its motion for sanctions, of no

more than five double-spaced pages, no later than 4 p.m. Central time on August 7, 2020.

SO ORDERED.
ENTER:

thus

GABRIEL A. FUENTES
United States Magistrate Judge

DATED: August 3, 2020
